     Case 1:25-cv-00946-CKK            Document 137    Filed 06/16/25     Page 1 of 22



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


LEAGUE OF UNITED LATIN AMERICAN
CITIZENS, et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0946 (CKK)
EXECUTIVE OFFICE OF THE PRESIDENT,
et al.,

                         Defendants.



DEMOCRATIC NATIONAL COMMITTEE,
et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0952 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.



LEAGUE OF WOMEN VOTERS
EDUCATION FUND, et al.,

                         Plaintiffs,
          v.
                                                  Civil Action No. 25-0955 (CKK)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                         Defendants.


                  JOINT CIVIL RULE 16.3 REPORT TO THE COURT

       In accordance with Federal Rule of Civil Procedure 26(f) and Civil Local Rule 16.3, the

parties conferred on June 4, 2025 and submit this joint statement in advance of the scheduling




                                              1
      Case 1:25-cv-00946-CKK           Document 137        Filed 06/16/25      Page 2 of 22




conference to be held by the Court on June 18, 2025. 1 Despite conferring in good faith, the parties

continue to disagree about the necessary scope of discovery and set forth their positions below.

The Republican National Committee takes no position on the parties’ discovery disputes, but

otherwise joins the Government Defendants’ proposals.

1. Parties’ Proposed Discovery Plan.

       The Court’s May 6, 2025 order requests that the parties identify “the subject matter of any

proposed discovery, the claim(s) and provision(s) of Executive Order 14,248 to which the

proposed discovery would be relevant, and a discovery plan outlining how Plaintiffs propose to

obtain the relevant information.” ECF No. 122 at 2. The parties set forth their respective positions

on this topic as follows:

       Plaintiffs’ Positions: As the Government previously acknowledged, “this is plainly a case

in which development of the factual record is required.” ECF No. 84 at 41 (citation omitted).

Democratic Party Plaintiffs agree that discovery is necessary as the case moves beyond the

preliminary relief phase. As such, they propose that fact discovery should be completed within

four (4) months of its commencement, an appropriate period to facilitate the development of their

claims ahead of their motion for summary judgment. In addition to seeking discovery on claims

not included in their preliminary injunction motion, Democratic Party Plaintiffs also intend to seek

discovery contemplated in the Court’s preliminary injunction order, where the Court recognized

that “further factual development” was necessary to adjudicate certain of Democratic Party

Plaintiffs’ challenges. ECF No. 104 at 83 (as to Democratic Party Plaintiffs’ Privacy Act claims




1
  The parties conferred prior to the RNC being granted partial intervention in this consolidated
matter on June 12, 2025. See ECF No. 135. After the Court granted the RNC’s partial intervention,
Plaintiffs forwarded the draft Joint Report to counsel for the RNC Intervenors, who indicated that
they assent to the Joint Report as filed.
                                                 2
      Case 1:25-cv-00946-CKK           Document 137        Filed 06/16/25      Page 3 of 22




against Section 2(b) of the EO). Democratic Party Plaintiffs anticipate that this will involve

requests for production of documents, interrogatories, requests for admission, and depositions of

relevant fact witnesses (including individuals and Rule 30(b)(6) designees).

       The Federal Rules of Civil Procedure “encourage the exchange of information through

broad discovery.” In re England, 375 F.3d 1169, 1177 (D.C. Cir. 2004). “Relevance, for discovery

purposes, has been ‘construed broadly to encompass any matter that bears on, or that reasonably

could lead to other matter that could bear on’ any party’s claim or defense.’” Lamaute v. Power,

339 F.R.D. 29, 34 (D.D.C. 2021) (quoting United States ex rel. Shamesh v. CA, Inc., 314 F.R.D.

1, 8 (D.D.C. 2016)). As this Court noted a few months ago in an action under the Administrative

Procedure Act, an “adequate record of exactly what [a]ctions” defendants are taking is “required”

where the “record [] before the Court is insufficient to allow the Court and Plaintiffs to ‘ascertain

the contours of the precise policy at issue.’” See Memorandum Opinion & Order at 6, Alliance for

Retired Americans, et al. v. Bessent, et al., 1:25-cv-00313-CKK (D.D.C. Mar. 20, 2025) (quoting

Venetian Casino Resort, L.L.C. v. E.E.O.C., 409 F.3d 359, 367 (D.C. Cir. 2005)), ECF No. 52.

       Democratic Party Plaintiffs plan to seek information related to the actions Defendants are

taking to implement EO 14,248, the contours of the Executive Order’s scope, and the effects that

the challenged provisions are having on states, localities, and voters. For example, this Court noted

in its preliminary injunction order that Democratic Party Plaintiffs’ challenges to Section 2(b) of

the Executive Order, which directs federal agencies and officers to grant third parties access to

systems and databases containing voters’ personal information, could not be addressed “[o]n the

present record,” and “would benefit from further factual development.” ECF No. 104 at 83. That

factual development, the Court concluded, includes information about “how broadly [Section 2(b)]

is implemented” and whether Defendants “have a specific, imminent plan to share personal



                                                 3
      Case 1:25-cv-00946-CKK            Document 137         Filed 06/16/25     Page 4 of 22




information in violation of the Privacy Act.” Id. at 86 (alteration in original) (citation omitted).

Since the Order, Defendants have not provided the Court or the public with any information

regarding their compliance with the Executive Order’s data-sharing directives; Democratic Party

Plaintiffs plan to seek discovery into those matters.

       Consistent with the Court’s April 24 preliminary relief order, Democratic Party Plaintiffs

also plan to seek discovery pertaining to Defendants’ enforcement of Section 7(a), which directs

the Attorney General to “enforce” the Election Day Statutes “against the States” that count federal-

election ballots received after Election Day. See id. at 97 (citing EO § 7(a)). The Court expressed

similar concerns about the development of the factual record surrounding Section 7(a). “The

primary difficulty with this instruction,” this Court concluded, was that “it is not clear what it

means to ‘enforce’ the Election Day Statutes,” and it was similarly “unclear on the present record”

whether that provision would lead to unlawful action on the part of the Defendants. Id. at 98.

Accordingly, Democratic Party Plaintiffs seek discovery as to their Section 7(a) claims as well.

       Democratic Party Plaintiffs similarly intend to seek discovery as to their Section 7(b) claim,

which instructs the Election Assistance Commission to condition funding to States based on the

President’s incorrect reading of the Election Day Statutes. See EO § 7(b). The Court concluded

that, “on the present record,” it is too “speculative” to know whether States will “respond to Section

7(b) by altering their ballot receipt deadlines.” ECF No. 104 at 101. Democratic Party Plaintiffs

plan to seek, as detailed in their discovery plan below, information concerning any decisions or

plans by the Election Assistance Commission to withhold funding from any state that has refused

to alter their policies for tabulating ballots received after Election Day).

       In addition to seeking discovery relating to provisions challenged in their preliminary

injunction motion, Democratic Party Plaintiffs also intend to seek discovery on claims not included



                                                   4
      Case 1:25-cv-00946-CKK            Document 137         Filed 06/16/25      Page 5 of 22




in that emergency motion, including their claims under the Administrative Procedure Act. See Case

No. 1:25-cv-00952, ECF No. 1 ¶¶ 146-219 (Counts IV-XI). As proposed below, the Government

should file an administrative record underlying the decisions challenged in this case on or before

July 1, 2025. Democratic Party Plaintiffs reserve their rights to file objections to the Government’s

designation of the administrative record in due course. See Minute Order, Alliance for Retired

Americans, et al. v. Bessent, et al., 1:25-cv-00313-CKK (D.D.C. Feb. 25, 2025) (setting schedule

for filing of administrative record and objections).

       Democratic Party Plaintiffs are cognizant of the limitations imposed on discovery into

certain aspects of executive decision-making processes. They are nonetheless entitled to

“discovery regarding any nonprivileged matter that is relevant to [their] claim[s] or defense[s] and

proportional to the needs of the case, considering,” as relevant here, “the importance of the issues

at stake in the action, … the parties’ relative access to relevant information, the parties’ resources,

the importance of the discovery in resolving the issues, and whether the burden or expense of the

proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 26(b)(1). And despite the

Government’s new position that all discovery is inappropriate, see ECF No. 119 at 5-6, that view

is untenable given its position just weeks ago that the Democratic Party Plaintiffs’ claims require

further factual development. See ECF No. 84 at 42 (the Government arguing that for claims

challenging Sections 2(b), 2(d), 7(a), and 7(b), the “factual record” was “underdeveloped”).

       In particular, Democratic Party Plaintiffs are entitled to discover information regarding,

including but not limited to, provisions of Executive Order 14,248 as set forth below:

   E.O. Provision/Count (Case            Information Sought                 Discovery Method
   1:25-cv-00952, ECF No. 1)
 § 2(a): Counts I, II, VI, X, XI   No discovery needed.              N/A.




                                                  5
     Case 1:25-cv-00946-CKK       Document 137         Filed 06/16/25        Page 6 of 22




§ 2(b): Counts I, IX          -   Information concerning the     Interrogatories, depositions,
                                  systems and databases that     requests for admission, requests
                                  have been or will be used      for documents.
                                  to carry out EO § 2(b),
                                  including but not limited
                                  to:
                                   o data and other
                                      information being
                                      shared between the
                                      Department of
                                      Homeland Security, the
                                      Department of State, or
                                      the Social Security
                                      Administration, and
                                      state and local
                                      officials;
                                   o the state and local
                                      officials who have
                                      received or will receive
                                      data from the
                                      Department of
                                      Homeland Security, the
                                      Department of State, or
                                      the Social Security
                                      Administration;
                                   o data and other
                                      information to which
                                      individuals associated
                                      with the Department of
                                      Government Efficiency
                                      have been or will be
                                      granted access; and
                                   o the means and
                                      circumstances of all
                                      such information
                                      sharing.
§ 2(d): Counts I, VI, VIII    -   Information concerning the     Interrogatories, depositions,
                                  methods, criteria, and         requests for admission, requests
                                  standards by which the         for documents.
                                  heads of federal voter
                                  registration executive
                                  departments are assessing
                                  or plan to assess the
                                  citizenship of enrollees of
                                  public assistance programs
                                  in accordance with EO §
                                  2(d).

                              -   Information concerning
                                  which agencies are

                                            6
     Case 1:25-cv-00946-CKK        Document 137         Filed 06/16/25        Page 7 of 22




                                   assessing or plan to assess
                                   citizenship of enrollees of
                                   public assistance programs
                                   in accordance with EO §
                                   2(d).
§ 3(a): Count IX               -   Information concerning the     Interrogatories, depositions,
                                   databases and systems that     requests for admission, requests
                                   have been or will be used      for documents.
                                   to carry out EO § 3(a),
                                   including but not limited
                                   to:
                                    o the nature of the data
                                       or information that has
                                       been or will be shared
                                       by the Social Security
                                       Administration to state
                                       and local officials;
                                    o the state and local
                                       election officials who
                                       have or will receive
                                       data or information;
                                       and
                                    o any other officials or
                                       other individuals who
                                       have or will receive
                                       data or information;
                                       and
                                    o the means and
                                       circumstances of all
                                       such disclosures.

§ 3(d): Counts VII, X          -   Information concerning         Interrogatories, depositions,
                                   any efforts the Secretary of   requests for admission, requests
                                   Defense has taken to           for documents.
                                   update the Federal Post
                                   Card Application to require
                                   documentary proof of
                                   citizenship or proof of
                                   eligibility to vote in
                                   accordance with EO § 3(d).
§ 4(a): Counts I, II, IV, XI   -   Information concerning       Interrogatories, depositions,
                                   any federal funds or grants requests for admission, requests
                                   that the Election Assistance for documents.
                                   Commission is
                                   withholding, or plans to
                                   withhold, from states that
                                   do not require documentary
                                   proof of citizenship with a
                                   voter’s registration.

                                             7
     Case 1:25-cv-00946-CKK       Document 137         Filed 06/16/25        Page 8 of 22




                              -   Information concerning
                                  any states that have
                                  accepted, or plan to accept,
                                  the funding conditions set
                                  out in EO § 4(a).
§ 4(b): Counts I, II, XI      -   Information concerning         Interrogatories, depositions,
                                  any actions that the           requests for admission, requests
                                  Election Assistance            for documents.
                                  Commission is taking or
                                  plans to take to amend the
                                  Voluntary Voting System
                                  Guidelines 2.0 and issue
                                  other guidance
                                  “establishing standards for
                                  voting systems” in
                                  accordance with EO §
                                  4(b)(i).

                              -   Information concerning
                                  any actions that the
                                  Election Assistance
                                  Commission is taking or
                                  plans to take to review and
                                  recertify voting systems
                                  and to rescind previous
                                  certifications of voting
                                  equipment in accordance
                                  with EO § 4(b)(ii).
§ 4(c): Counts I, II, XI      -   Information concerning         Interrogatories, depositions,
                                  any actions that the           requests for admission, requests
                                  Election Assistance            for documents.
                                  Commission is taking or
                                  plans to take to audit Help
                                  America Vote Act
                                  expenditures in accordance
                                  with EO § 4(c).

                              -   Information concerning the
                                  results of any audit
                                  conducted in accordance
                                  with EO § 4(c), including
                                  findings of any
                                  “discrepancies” or “issues
                                  with an audited State’s
                                  certifications of
                                  compliance with Federal
                                  Law.”



                                            8
     Case 1:25-cv-00946-CKK       Document 137          Filed 06/16/25       Page 9 of 22




§ 4(d): Count IV              -   Information concerning         Interrogatories, depositions,
                                  any federal funds that the     requests for admission, requests
                                  Secretary of Homeland          for documents.
                                  Security and the
                                  Administrator of the
                                  Federal Emergency
                                  Management Agency are
                                  making subject, or plan to
                                  make subject, to the
                                  conditions set out in EO §
                                  4(d).

                              -   Information concerning
                                  how funding conditions set
                                  out in EO § 4(d) are being,
                                  or plan to be, applied to
                                  states.

                              -   Information concerning
                                  any states that have
                                  accepted, or plan to accept,
                                  the funding conditions set
                                  out in EO § 4(d).
§ 5(b): Count IV              -   Information concerning         Interrogatories, depositions,
                                  any federal funds or grants    requests for admission, requests
                                  that the Attorney General is   for documents.
                                  withholding, or plans to
                                  withhold, from states that
                                  do not cooperate in
                                  investigations of election
                                  crimes as set out in EO §
                                  5(b).

                              -   Information concerning
                                  how funding conditions set
                                  out in EO § 5(b) are being,
                                  or plan to be, applied to
                                  states.

                              -   Information concerning
                                  any states or jurisdictions
                                  that are being deprived, or
                                  will be deprived, of funds
                                  as set out in EO § 5(b).
§ 7(a): Counts I, III, V      -   Information concerning         Interrogatories, depositions,
                                  any enforcement                requests for admission, requests
                                  mechanisms the Attorney        for documents.
                                  General is using, or plans
                                  to use, against states that

                                             9
     Case 1:25-cv-00946-CKK             Document 137         Filed 06/16/25        Page 10 of 22




                                        include in their final
                                        tabulation for federal
                                        elections absentee or mail-
                                        in ballots received after
                                        Election Day.
 § 7(b): Counts I, II, IV, V, XI    -   Information concerning          Interrogatories, depositions,
                                        any federal funds that the      requests for admission, requests
                                        Election Assistance             for documents.
                                        Commission is making
                                        subject, or plans to make
                                        subject, to states’
                                        compliance with “a ballot
                                        receipt deadline of Election
                                        Day for all methods of
                                        voting,” as set out in EO §
                                        7(b).

                                    -   Information concerning
                                        any states that have altered,
                                        or plan to alter, their
                                        policies for tabulating
                                        ballots received after
                                        Election Day in accordance
                                        with EO § 7(b).



        Democratic Party Plaintiffs propose that the parties adhere to the limitations provided by

Federal Rules of Civil Procedure 30, 33, 34, and 36, and Local Rule 26.2. See Fed. R. Civ. P.

30(a)(2)(A)(i); 33(a); 34; 36; LCvR 26.2(c).

        Democratic Party Plaintiffs understand that Defendants are likely to assert privilege

objections to their discovery requests, and that the parties are unlikely to agree on the scope of the

privilege as relevant to these requests. As set forth below, Democratic Party Plaintiffs propose to

conduct discovery expeditiously so that any privilege disputes can be presented to the Court for

early resolution, in time for production of the relevant documents or information no later than

thirty (30) days after resolution of any discovery motion filed by July 28, 2025—so that the parties

can conclude summary judgment briefing by November 21, 2025 with the full benefit of discovery.



                                                  10
      Case 1:25-cv-00946-CKK             Document 137          Filed 06/16/25       Page 11 of 22




         The LULAC Plaintiffs join in and support the Democratic Party Plaintiffs’ requests as to

discovery with respect to their overlapping claims as to Sections 3(d), 4(a), 7(a), and 7(b) of the

EO. The League Plaintiffs take no position on the request for discovery and do not intend to take

party discovery at this time, but reserve the right to take party discovery if circumstances change.

All Non-Partisan Plaintiffs reserve the right to receive all discovery exchanged in this matter and

participate in any depositions taken.

         Government’s Position:

         Plaintiffs bring facial claims challenging sections 2(a), 2(b)(iii), 2(d), 3(d), 4(a), 4(b), 4(c),

4(d), 7(a), 7(b) of the Executive Order, alleging that the President’s actions under the EO are ultra

vires and violate federal statutes, constitutional provisions, and the separation of powers. Plaintiffs

also challenge sections 2(a), 2(b), 3(a), 3(d), 4(a), 4(b), 4(c), 7(a), and 7(b) under the

Administrative Procedure Act, alleging that the EO will result in agency action contrary to the

“Election Day Statutes,” 2 the National Voter Registration Act, 3 the Uniformed and Overseas

Citizens Absentee Voting Act, 4 the First Amendment, the Fifth Amendment, the Privacy Act, 5 and

the Help America Vote Act. 6 Compl. 41–48, 1:25-cv-946; Compl. 31–33, 1:25-cv-00955; Compl.

42–67, 1:25-cv-952. Plaintiffs’ claims challenging the Executive Order present pure legal issues—

whether the President has the legal authority to direct members of the Executive Branch to carry

out the EO’s provisions and whether those violate certain statutes and constitutional provisions—

which can and should be decided without discovery. See Simon v. Muschell, 2014 WL 1651975,

at *3 (N.D. Ind. Apr. 18, 2014) (“This is a pure legal question that does not warrant discovery.”);



2
  2 U.S.C. § 7; 3 U.S.C. § 1.
3
  52 U.S.C. § 20501.
4
  52 U.S.C. § 20301.
5
  5 U.S.C. § 552a.
6
  52 U.S.C. § 20921.

                                                    11
     Case 1:25-cv-00946-CKK           Document 137          Filed 06/16/25    Page 12 of 22




Travers v. Sullivan, 791 F. Supp. 1471, 1482 (E.D. Wash. 1992) (“[B]ecause these issues raise

pure legal questions, no discovery shall be permitted.”).

       Plaintiffs style some of their claims as APA claims, however, which purport to challenge

specific agency action that may ultimately be issued in response to the Executive Order. Plaintiffs’

focus of discovery appears to be the question of how agencies will actually implement the

Executive Order at some point in the future. See, e.g., supra (requesting “information concerning

any efforts the Secretary of Defense has taken to update the Federal Post Card Application to

require documentary proof of citizenship or proof of eligibility to vote in accordance with EO

§ 3(d)” and “[i]nformation concerning any enforcement mechanisms the Attorney General is

using, or plans to use, against states that include in their final tabulation for federal elections

absentee or mail-in ballots received after Election Day”). Those claims are not fairly part of the

operative complaint, which challenges only the Executive Order itself, and therefore is not the

appropriate subject of discovery. See Nat’l Ass’n of Diversity Officers in Higher Educ. v. Donald

J. Trump, No. 25-1189 (4th Cir. Mar. 14, 2025) (Harris, J., concurring) (noting that “[w]hat the

[Executive] Orders say on their face and how they are enforced are two different things.”).

       Discovery is also inappropriate with respect to these claims because the proper vehicle for

factual development is an administrative record, not discovery under the federal rules. See

Cherokee Nation v. Dep’t of Interior, 2021 WL 3931870, at *1 (D.D.C. Sept. 2, 2021) (“For [APA]

claims, review is limited to the administrative record, not a record developed through the usual

processes of civil discovery.” (citing Camp v. Pitts, 411 U.S. 138, 142 (1973)). This Court should

therefore stay any discovery, at a minimum pending the production of an administrative record to

the extent there is yet final agency action. No administrative record, however, can be prepared

until there is final agency action. Defs. of Wildlife v. Tuggle, 2009 WL 10673072, at *2 (D. Ariz.



                                                12
     Case 1:25-cv-00946-CKK            Document 137         Filed 06/16/25       Page 13 of 22




Aug. 25, 2009) (“Absent an agency action, there is no administrative record.”). Therefore,

Plaintiffs’ demand that an administrative record be prepared by July 1, 2025, is also premature.

And to the extent it would be appropriate to supplement the administrative record or seek extra-

record discovery, that question could not be resolved until the administrative record was first

produced.

       Plaintiffs further assert that discovery is appropriate to obtain “information related to the

actions Defendants are taking to implement EO 14,248, the contours of the Executive Order’s

scope, and the effects that the challenged provisions are having on states, localities, and voters.”

Plaintiffs distort the Government’s and this Court’s statements in the Government’s preliminary-

injunction opposition and this Court’s order on Plaintiffs’ preliminary injunction opposition,

suggesting that their statements concerning an undeveloped factual record invited discovery. In

reality, both statements acknowledged that certain of Plaintiffs’ were not ripe or prudentially ripe

because they required “further development of the factual record.” ECF No. 84 at 41; ECF No.

104 at 83. But the lack of information concerning how the EO will be implemented is because that

implementation is still ongoing (in part because certain sections have been enjoined), i.e., there is

not yet a final agency action, which demonstrates that Plaintiffs’ claims are not ripe. A lack of

ripeness does not entitle Plaintiffs to discovery related to that claim. Rather, it counsels in favor of

dismissing the claim altogether. See Common Cause v. Trump, 506 F. Supp. 3d 39, 44, 47, 56

(D.D.C. 2020) (dismissing claims challenging a presidential memorandum for lack of ripeness

where “judicial review . . . would benefit from further factual development”); Atl. States Legal

Found. v. E.P.A., 325 F.3d 281, 285 (D.C. Cir. 2003) (“In short, we have ‘the classic institutional

reason to postpone review: we need to wait for ‘a rule to be applied [to see] what its effect will

be.’”). Nor is the challenged provisions’ effect on states and localities information in the



                                                  13
     Case 1:25-cv-00946-CKK           Document 137         Filed 06/16/25      Page 14 of 22




Government’s possession. Discovery should thus be deferred until, at a minimum, the Court rules

on Defendants’ motion for summary judgment presenting purely legal issues.

       Furthermore, resolution of dispositive summary judgment motions concerning legal issues

would avoid complicated privilege issues involving still developing agency actions and White

House directions. Plaintiffs seek predecisional, deliberative information concerning agency

decision-making about how to implement an Executive Order that would be privileged and

potentially implicate Presidential communication privilege issues that would significantly

complicate and delay resolution of this dispute.

2. Local Rule 16.3(c)

   a) Likelihood of Disposal by Dispositive Motion. Defendants filed answers to the complaints

       rather than move to dismiss. See ECF Nos. 123, 124, 131. The Parties anticipate cross-

       moving for summary judgment in accordance with the schedules below and believe the

       matter is resolvable via summary judgment.

   b) Joinder of Parties and Amendment of Pleadings. The parties agree that motions to add

       parties or amend pleadings shall be governed by Federal Rule of Civil Procedure 15. At

       this time, the parties do not anticipate that the factual or legal issues will be substantially

       agreed upon or narrowed.

   c) Assignment to Magistrate Judge. The parties do not consent to trial by a Magistrate Judge,

       or to the disposition of dispositive pre-trial motions by a Magistrate Judge.

   d) Settlement. The parties do not believe that settlement discussions would be useful to engage

       in at this time.

   e) Alternative Dispute Resolution. The parties have considered alternative dispute resolution

       procedures and do not believe that ADR would be useful to engage in at this time.



                                                   14
     Case 1:25-cv-00946-CKK           Document 137         Filed 06/16/25     Page 15 of 22




   f) Dispositive Motions. The parties have provided dates for filing summary judgment motions

       in their Joint Scheduling Proposal, ECF No. 119, as well as in their proposed case schedules

       below.

   g) Initial Disclosures.

       Plaintiffs’ Positions: Democratic Party and LULAC Plaintiffs propose that parties should

exchange the initial disclosures required by Fed. R. Civ. P. 26(a)(1) no later than June 30, 2025.

The League Plaintiffs take no position on the need for initial disclosures given the parties’

agreement that no discovery is needed with respect to claims challenging Section 2(a) of the

Executive Order, the only provision the League Plaintiffs challenge.

       Government’s Position: Because discovery is not necessary on these purely legal claims,

Defendants request that the deadline for initial disclosures be deferred. See ECF No. 119.

   h) Discovery. The parties’ respective positions with respect to discovery issues are set out

       above. The parties’ respective proposed discovery dates are set out below.

   i) Disclosure, Discovery, and Preservation of Electronically Stored Information. Should

       discovery be permitted, the parties will likely seek emails and the content of other

       electronically stored communications and information to the extent that those

       communications are nonprivileged. The parties agree that disclosure or production of

       electronically stored information will generally be limited to data reasonably available to

       the parties in the ordinary course of business. The parties do not anticipate seeking data

       beyond what is reasonably available in the ordinary course of business. The parties agree

       to continue to preserve such electronically stored communications and information until

       such time as the case has been concluded and the window for any appeal has expired. The

       parties also agree that if information to be produced in this case is subject to a protective



                                                 15
     Case 1:25-cv-00946-CKK             Document 137       Filed 06/16/25    Page 16 of 22




       order, they will seek to negotiate and submit such an order in advance of that production.

       The parties will comply with Federal Rule of Civil Procedure 26(b)(5)(B) regarding the

       inadvertent production of privileged information.

   j) Claims of Privilege. Should discovery be permitted, the parties anticipate that some or all

       Plaintiffs and Defendants will assert privilege or other protections from disclosure. The

       parties agree that they will address these issues to the extent necessary in any forthcoming

       motion for a protective order.

   k) Expert Reports.

       Plaintiffs’ Positions: Democratic Party Plaintiffs recommend the schedule for exchange of

expert witness reports and depositions as provided in the proposed Case Schedule below.

       Government’s Position: Expert witness reports are not necessary because discovery is not

appropriate for the reasons explained above.

   l) Class Actions. Not applicable at this time.

   m) Bifurcation. Plaintiffs propose two phases of summary judgment briefing, one for claims

       for which no party is seeking discovery (i.e., claims with respect to Section 2(a)), and

       another for the remaining claims following a period of discovery. Proposed dates for the

       briefing schedules are set forth below. The Government proposes one set of summary

       judgment briefing to dispose of all Plaintiffs’ claims.

   n) Pre-trial Conference. The parties anticipate that this case may be resolved on summary

       judgment and have not proposed a date for a Pre-trial Conference.

   o) Trial Setting. The parties anticipate that this case may be resolved on summary judgment

       and have not proposed a date for trial.




                                                 16
     Case 1:25-cv-00946-CKK          Document 137          Filed 06/16/25   Page 17 of 22




   p) Other Matters. The parties are not aware of any other matters to bring to the Court’s

       attention.

3. Local Rule 16.3(d)

   a) Discovery Plan. The parties do not agree on a schedule and have provided their respective

       proposed schedules below.

   b) Statement of Agreements Reached with Respect to Rule 16.3(c). The parties’ respective

       responses to Rule 16.3(c) provide the agreement of the parties.

   c) Description of the Positions of Each Party on Any Matters on Which They Disagree. The

       parties’ respective responses to Rule 16.3(c) provide the positions of the parties with

       respect to matters on which they disagree.

   d) Proposed Case Schedule.

       Plaintiffs’ Positions: As set out in the parties’ May 5, 2025 submission to the Court,

Democratic Party and LULAC Plaintiffs propose to complete discovery by September 4, 2025 and

summary judgment briefing on claims other than those related to Section 2(a) by no later than

November 21, 2025. Democratic Party and LULAC Plaintiffs propose the following dates for the

Court’s consideration:


   Deadline or Event (for claims other than            Proposed Dates (for claims other than
         those that relate to Section 2(a)                those that relate to Section 2(a)
 Initial disclosures                                June 27, 2025

 Deadline to amend pleadings and/or join June 27, 2025
 parties

 Service of initial requests for production and June 27, 2025
 interrogatories

 Administrative Record Due                          July 1, 2025

 Objections to Administrative Record Due            July 7, 2025


                                               17
    Case 1:25-cv-00946-CKK           Document 137        Filed 06/16/25   Page 18 of 22




Responses to initial requests for production      July 11, 2025
and interrogatories

Responses to Objections Due                       July 14, 2025

Deadline for Privilege Logs for responses to July 16, 2025
initial requests
Fact (individual and Rule 30(b)(6)) deposition July 21, 2025
notices to be served

Motions to compel/motions for protective          July 28, 2025
order with respect to assertions of privilege

Mutual exchange of expert reports                 July 28, 2025

Oppositions to motions to compel/motions for      August 4, 2025
protective order with respect to assertions of
privilege

Replies in support of motions to                  August 11, 2025
compel/motions for protective order with
respect to assertions of privilege
Hearing on motions to compel/motions for          To be set by court
protective order with respect to assertions of
privilege

Deadline to produce documents/information         August 25, 2025
ordered by the Court in light of motions to
compel/motions for protective order with
respect to assertions of privilege
Completion of fact discovery                      September 4, 2025

Completion of expert discovery                    September 4, 2025

Plaintiffs file summary judgment motions          September 17, 2025

Defendants file cross-summary judgment October 17, 2025
motion and responses
Plaintiffs file responses and replies  November 7, 2025

Defendants file reply                             November 21, 2025




                                                 18
        Case 1:25-cv-00946-CKK           Document 137         Filed 06/16/25       Page 19 of 22




         With respect to claims related to Section 2(a) only, for which no party seeks discovery,

Plaintiffs propose the following dates for the Court’s consideration:

  Briefing Deadline for Section 2(a) Claims                            Proposed Dates

 Plaintiffs move for summary judgment                 July 11, 2025

 Defendants file responses and cross-move             August 8, 2025

 Plaintiffs file replies                              August 29, 2025

 Defendants file replies                              September 19, 2025



            Government’s Position: The Government agrees that the deadline to amend pleadings

or join parties should be June 27, 2025. There should be one round of motions for summary

judgment on all of Plaintiffs’ claims according to the schedule below.


         Briefing Deadline for All Claims                              Proposed Dates

 Plaintiffs move for summary judgment                 July 11, 2025

 Defendants file responses and cross-move             August 8, 2025

 Plaintiffs file replies                              August 29, 2025

 Defendants file replies                              September 19, 2025


         All parties agree that any amicus briefs shall be filed within 7 days after the principal brief

of the party it supports, or within 7 days of the plaintiffs’ principal brief if it does not support either

side.


Dated: June 16, 2025                             Respectfully submitted,


 /s/ Norm L. Eisen                                       /s/ Danielle Lang
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                                                    19
    Case 1:25-cv-00946-CKK          Document 137           Filed 06/16/25   Page 20 of 22




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                                                 20
     Case 1:25-cv-00946-CKK         Document 137      Filed 06/16/25     Page 21 of 22




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                                              21
     Case 1:25-cv-00946-CKK         Document 137      Filed 06/16/25    Page 22 of 22




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                                             22
